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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION

KIMBERLY WILICHOWSKI and
KENT WILICHOWSKI                                                            PLAINTIFFS

V.                                  CASE NO. 5:21-CV-5024

BOSTON SCIENTIFIC CORPORATION                                              DEFENDANT

                                    ORDER OF DISMISSAL

       IT APPEARING to the Court that the matter has been settled, counsel for all parties

having so advised the Court, it is ORDERED that the case be, and it is hereby,

DISMISSED WITH PREJUDICE, subject to the terms of the settlement agreement.

       If any party desires to make the terms of settlement a part of the record herein,

those terms should be reduced to writing and filed with the Court within thirty (30) days

from the file date of this Order.

       The Court retains jurisdiction to vacate this Order and to reopen the action upon

cause shown that settlement has not been completed and that a party wishes this Court

to enforce the settlement agreement specifically.

       IT IS SO ORDERED on this 1st day of June, 2021.


                                                  /s/ Timothy L. Brooks
                                                 TIMOTHY L. BROOKS
                                                 UNITED STATES DISTRICT JUDGE
